
Per Cur.
‘ ‘The Court is of opinion that the said judgment is erroneous in this, that it was omitted to be entered therein, that the money was to be paid to the sheriff for the benefit of the creditors of the defendant, so far as just claims against him might appear. Therefore it is considered that the same be reversed &amp;c. and this Court proceeding to give such judgment as the said District Court ought to have given. It is further considered that the defendant recover against the plaintiff four hundred and fifty seven pounds five shillings and eight pence, the penalty of the forthcoming bond in the proceedings mentioned, and his costs in the said District Court expended, to be paid to the sheriff for the benefit of the creditors of the defendant, so far as just claims against him may appear; But to be discharged by the payment of ¿£228. 12. 10. with interest thereon to be computed after the rate of five per centum per annum from the 16th day of April 1796 till payment and the costs.”
